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                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

                 Plaintiff,                            Civil A. No. 3:24-cv-06029-ZNQ-JBD

  v.

  CERTAIN UNDERWRITERS AT LLOYD’S,
  LONDON SUBSCRIBING TO POLICY NO.
  PK1021618, LLOYD’S SYNDICATE 2987,

                 Defendant.

                                     [PROPOSED] ORDER

        AND NOW, this ____ day of _____________ 2024, upon consideration of Defendant

 Certain Underwriters at Lloyd’s, London Subscribing to Policy No. PK1021618, Lloyd’s

 Syndicate 2987’s Motion to Compel Arbitration and Stay Proceedings, Plaintiff Tyshon Edwards'

 response in opposition thereto, and any further submissions, it is hereby ordered that the Motion

 is DENIED.

                                          ___________________________________

                                                                                  J.
